Case 2:19-CVi BGP E Do PO SG Tar 2 TSS 19! Sth BAAR Ig! 8 PagelD: 7

 

Court’s Address and Phone Number:
MIDDLESEX Special Civil Part

56 PATERSON STREET, 3RD FLOOR
P.O. BOX 1146

NEW BRUNSWICK, NJ 08903-1146

732-645-4300 ext.88382

 

Superior Court of New Jersey
Law Division, Special Civil Part

MIDDLESEX County
Docket No: MID-DC-012548-19

Civil Action
CONTRACT DISPUTE

 

YOU ARE BEING SUED!

 

Person or Business Suing You (Plaintiff)
SZERMAN INC

 

Plaintiff's Attorney Information

Person or Business Being Sued (Defendant)
HAPAG LLOYED (AMERICAO LLC

The Person or Business Suing You Claims You Owe the

Following:
Demand Amount $14403.90
Filing Fee $75.00
Service Fee $7.00
Attorney’s Fees $0.00

 

 

 

TOTAL
FOR JUDICIARY USE ONLY

$14485.90

       

In the attached complaint, the person or business suing you briefly tells the court his or her version of the facts of the case and how much
money he or she claims you owe. If you do not answer the complaint, you may lose the case automatically and the court may give the
plaintiff what the plaintiff is asking for, plus interest and court costs. You have 35 days from the date of service to file your answer
or a signed agreement. Ifa judgment is entered against you, a Special Civil Part Officer may seize your money, wages or personal
property to pay all or part of the judgment. The judgment is valid for 20 years.

If YOU DISAGREE WITH THE PLAINTIFF’S CLAIMS, A WRITTEN ANSWER OR SIGNED AGREEMENT MUST BE
RECEIVED BY THE COURT ABOVE, ON OR BEFORE 11/07/2019, OR THE COURT MAY RULE AGAINST YOU. IF YOU
DISAGREE WITH THE PLAINTIFF, YOU MUST DO ONE OR BOTH OF THE FOLLOWING:

1. Answer the complaint. An answer form that will explain how to respond to the complaint is available at any of the New Jersey Special
Civil Part Offices or on the Judiciary’s Internet site njcourts.gov under the section for Forms. If you decide to file an answer to the
complaint made against you:

e Fill out the Answer form AND pay the applicable filing fee by check or money order payable to: Treasurer, State of New Jersey.
Include MID-DC-012548-19 (your Docket Number) on the check.

@ Mail or hand deliver the completed Answer form and the check or money order to the court’s address listed above.

e Hand deliver or send by regular mail a copy of the completed Answer form to the plaintiffs attorney. If the plaintiff does not have
an attorney, send your completed answer form to the plaintiff by regular and certified mail. This MUST be done at the same time
you file your Answer with the court on or before 11/07/2019.

2. Resolve the dispute. Contact the plaintiff's attommey, or contact the plaintiff if the plaintiff does not have an attorney, to resolve this
dispute. The plaintiff may agree to accept payment arrangements. If you reach an agreement, mail or hand deliver the SIGNED
agreement to the court’s address listed above on or before 11/07/2019.

Please Note - You may wish to get an attormey to represent you. If you cannot afford to pay for an attorney, free legal advice may be
available by contacting Legal Services at 732-249-7600. If you can afford to pay an attorney but do not know one, you may call the Lawyer
Referral Services of your local County Bar Association at 732-828-0053. Notify the court now if you need an interpreter or an
accommodation for a disability for any future court appearance.

/s/ Michelle M. Smith
Clerk of the Superior Court

 

 

 

 
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Direccion y teléfono del tribunal EI! Tribunal Superior de Nueva Jersey

Parte Civil Especial de MIDDLESEX Divisién de Derecho, Parte Civil Especial

56 PATERSON STREET, 3RD FLOOR

P.O. BOX 1146 Condado de MIDDLESEX

NEW BRUNSWICK, NJ 08903-1146 Numero del expediente MID-DC-012548-19

732-645-4300 ext.88382 Demanda de Accién Civil

NOTIFICACION DE DEMANDA

CONTRACT DISPUTE

 

 

-LE ESTAN DEMANDANDO!

 

 

Persona 0 entidad comercial que le esté demandando (e/ | Persona o comercial ser demandada (el demandado)

 

 

demandante) HAPAG LLOYED (AMERICAO LLC
SZERMAN INC
La persona 0 comercial que le esta demandando afirma que
Informacidn sobre el abogado del demandante usted le debe lo siguiente:
Cantidad a la vista $14403.90
Tasa judicial $75.00
Cargo del emplazamiento $7.00
Honorarios del abogado $0.00
TOTAL $14485.90

 

PARA USO EXCLUSIVO DEL PODER JUDICIAL

En la demanda adjunta la persona o entidad comercial que le esta demandando le informa brevemente al juez su version de los hechos de la
causa y la suma de dinero que afirma que usted le debe. Si usted no responde a la demanda puede perder la causa automaticamente y el
juez puede dar al demandante lo que esta pidiendo mas intereses y los costos legales. Usted tiene 35 dias a partir de la fecha del
emplazamiento para presentar su respuesta o un acuerdo firmado. Si se dicta un fallo en su contra, un Oficial de la Parte Civil Especial
puede embargar su dinero, sueldo o sus bienes muebles (personales) para pagar todo el fallo 0 una parte del mismo. EI fallo es valido por 20
afios.

SIL USTED NO ESTA DE ACUERDO CON LAS ALEGACIONES DEL DEMANDANTE, EL TRIBUNAL TIENE QUE RECIBIR
UNA RESPUESTA POR ESCRITO O UN ACUERDO FIRMADO PARA EL 11/07/2019 O ANTES DE ESA FECHA, O EL JUEZ
PUEDE EMITIR UN FALLO EN SU CONTRA. SI USTED NO ESTA DE ACUERDO CON EL DEMANDANTE, DEBE HACER
UNA DE LAS SIGUIENTES COSAS O LAS DOS:

1. Responder ala demanda. Un formulario de respuesta que le explicara como responder a la demanda esta disponible en cualquiera de las
Oficinas de la Parte Civil Especial de Nueva Jersey o en el sitio Internet del Poder Judicial njcourts.gov bajo la seccién de formularios
(Forms). Si usted decide presentar una respuesta a la demanda que se hizo en su contra:

e Lene el formulario de Respuesta Y pague la tasa judicial de presentacion que corresponda mediante un cheque o giro bancario 0
postal acreditable al: "Treasurer, State of New Jersey " (Tesorero del Estado de Nueva Jersey). Incluya
MID-DC-012548-19 (el numero de su expediente) en el cheque.

e Envie por correo el formulario de Repuesta Ilenado y el cheque o giro bancario o postal a la direccién del tribunal que figura mas
arriba, o entréguelos personalmente en dicha direccién.

e _Entregue personalmente o envie por correo comtn una copia del formulario de Repuesta Ilenado al abogado del demandante. Si el
demandante no tiene abogado, envie su formulario de respuesta llenado al demandante por correo comin y por correo certificado.
Esto SE TIENE que hacer al mismo tiempo que presente su Respuesta al tribunal a mas tardar el 11/07/2019. ,

2. Resolver la disputa. Comuniquese con el abogado del demandante, o con el demandante si éste no tiene abogado, para resolver esta
disputa. El demandante puede estar de acuerdo con aceptar arreglos de pago. Si Hegara a un acuerdo, envie por correo o entregar
personalmente el acuerdo FIRMADO a la direccién del tribunal que figura mas arriba, o entréguelo personalmente en dicha
direccién a mas tardar el 11/07/2019.

Nota - Puede que usted quiera conseguir que un abogado para que lo represente. Si usted no puede pagar a un abogado, podria obtener
consejos legales gratuitos si se comunica con Legal Services (Servicios Legales) llamando al 732-249-7600. Si usted puede pagar a un
abogado, pero no conoce a ninguno, puede llamar al Lawyer Referral Services (Servicios de Recomendacién de Abogados) del Colegio de
Abogados (Bar Association) de su condado local al 732-828-0053. Notifique al tribunal ahora si usted necesita un intérprete o un arreglo por
una discapacidad para cualquier comparecencia futura en el tribunal.

/s/ Michelle M. Smith

 

Subsecretario(a) del Tribunal Superior

 

 
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/

Form A
S ZeyMmory ine. Superior Court of New Jersey
Plaintiff's Name (first, middle, last) Law Division, Special Civil Part

A A_ VAN Dyke AVE Middlesex County
Street Address Docket Number

 

NEw Buns yele NT, O%9o\
City, State, Zip °
(73a) Sha. TRAD

Telephone Number

Wagag LLoYD CAwehica LLe
Defendant's Name (first, middle, last)
S99 Hose LANE Civil Action
Street Address _ .
iseatWay , NYU OSE SS Complaint
City, State, Zip i
Chay SGA -IKOO

Telephone Number

(to be provided by the court)

 

Type or print the reasons you, the Plaintiff(s), are suing the Defendant(s): (See instruction B)
Attach additional sheets if necessary.

A Pleane See attide d ctont fry Ha
Keasans. we

 

 

 

The amount you, the Plaintiff(s) are demanding from the Defendant(s) $ 44 AES: 6

At the trial Plaintiff will need:

 

 

me
An interpreter L] Yes if No Indicate language: eo ee
An accommodation for disability {Yes [K] No Indicate accommodation win fy
Te

7 met a4
I certify that the matter in controversy is not the subject of any other court action orzarbitration “>

proceeding, now pending or contemplated, and that no other parties should be joined an thigjaction,
thet “ay

I certify that confidential personal identifiers have been redacted from documents {ur subinittéd.to the
court, and will be redacted from all documents submitted in the future in accordance mith’? = ©
Rule 1:38-7(b).

h} f Qo f 7
She geek XT fezhth—
Date a] ou [do 19 Your Signature

Name Typed, Stamped or Printed

BCH# [AT DATE 9-20-19 bee

 

 

CHICA # JORT | Seeman ine,
FEE FBR. OO i Veen Ny
OVP ¢ (732) 342.7242

COPY/SANC $
TOTAL. $V2.CO

 

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vad

Szerman Ine
14/A Van Dyke Ave
New Brunswick, NJ 08901

Re: B/L No.HLCUBSC1906BRY Wo

We have paid in full for the Freight charges for this Bil] of Lading to get
original Bill of Lading.

We have sent original Bill of Lading along with required documents to
our consignee in India.
Case 2:19-CVr Ah BAfS-FOW aL RM oA GbTE By he FSA AM AGES fags a 8 Pagelb: 11
vo . 4

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

     
 

      

 

Form B
~~, Court’s Address and Phone Number: Superior Court of New Jersey
a Middlesex Special Civil Part Law Division, Special Civil Part
Js 56 Paterson Street Middlesex County
se" New Brunswick, NJ 08903 Docket No; DC
Civil Action
Telephone No. (732) 645-4300 SUMMONS
Check one [3 Contract [Tort
YOU ARE BEING SUED!
Person or Business Suing You (Plaintiff) Person or Business Being Sued (Defendant
Szehuan inelbsrsiter ste) | WApag  LLYoD CameRicad le
(4 /A VAN DYKE AVE ZAG +ose Lane
NCW Bhowsrnicle, My OKGot PiscATWAY , VT OGES4
. q °
(See the following page(s) for additional plaintiffs) (See the following page(s) for additional defendants)
Plaintiff's Attorney Information The Person or Business Suing You Claims You Owe the
Following: :
Demand Amount $ \4 Le 03 Ao
Filing Fee $ ¥SR0
Service Fee $ 0.00
Attorney’s Fees $ Ge
TOTAL
For JUDICIARY USE ONLY

In the attached complaint, the person or business suing you briefly tells the court his or her version of the facts of the case and how
much money he or she claims you owe. If you do not answer the complaint, you may lose the ease automatically and the court
may give the plaintiff what the plaintiff is asking for, plus interest and court costs. You have 35 days from the date of service
to file your answer or a signed agreement. Ifa judgment is entered against you, a Special Civil Part Officer may seize your
money, wages or personal property to pay all or part of the judgment. The judgment is valid for 20 years.

If YOU DISAGREE WITH THE PLAINTIFF’S CLAIMS, A WRITTEN ANSWER OR SIGNED AGREEMENT MUST
BE RECEIVED BY THE COURT ABOVE, ON OR BEFORE , OR THE COURT MAY RULE AGAINST YOU. IF
YOU DISAGREE WITH THE PLAINTIFF, YOU MUST DO ONE OR BOTH OF THE FOLLOWING:

1, Answer the complaint, An answer form that will explain how to respond to the complaint is available at any of the New Jersey
Special Civil Part Offices or on the Judiciary’s Internet site njcourts.gov under the section for Forms. If you decide to file an
answer to the complaint made against you:

e Fill out the Answer form AND pay the applicable filing fee by check or money order payable to: Treasurer, State of New
Jersey, Include DC (your Docket Number) on the check.

¢ Mail or hand deliver the completed Answer form and the check or money order to the court’s address listed above.

« Hand deliver or send by regular mail a copy of the completed Answer form to the plaintiff's attorney. If the plaintiff does
not have an attorney, send your completed answer form to the plaintiff by regular and certified mail. This MUST be done at
the same time you file your Answer with the court on or before

 

 

2. Resolve the dispute. Contact the plaintiff's attorney, or contact the plaintiff if the plaintiff does not have an attorney, to resolve ‘|
this dispute. The plaintiff may agree to accept payment arrangements, Ifyou reach an agreement, mail or hand deliver the
SIGNED agreement to the court’s address listed above on or before :

Please Note ~ You may wish to get an attorney to represent you. Ifyou cannot afford to pay for an attorney, free legal advice
may be available by contacting Legal Services at _ Ifyou can afford to pay an attorney bat do not know one, you may call the
Lawyer Referral Services of your local County Bar Association at . Notify the court now if you need an interpreter or an
accommodation for a disability for any future court appearance.

 

 

/s/ Name
Clerk of the Superior Court

 

 

 

 

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fee Revised 04/19/2017, CN 11808, NON-JEFIS DC Summons - Promulgated by Notice to the Bar: 07/13/2015
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Case 2:19-cv-19275-SDW-LDW Document1-1 Filed 10/24/19 Page 6 of 8 PagelD: 12
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MIDDC01254819

Middlesex Civil Div.
PO Box 1146
NewBrswick, NJ 08903

 

 

00366 04

HAPAG LLOYED (AMERICAO LLC
399 HOSE LANE

PISCATAWAY NJ 08854

 

RECEIVED
OcT 3 2019

CLAIMS

 

 
Case 2:19-cv-19275-SDW-LDW Document1-1 Filed 10/24/19 Page 8 of 8 PagelD: 14
